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Court Filing Record

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Inmate Name: David Meister

Inmate No.: 70703

Document Title: Motion for Appointment of Counsel on Appeal
Motion for Leave to File a Longer Motion
Motion for Certificate of Appealability and Statement of Reason

Why a Certificate Should Be Issued
Total Pages : 24 (not including cover page)
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Petitioner-Appellant, pro se

UNITED STATES COURT OF APPEALS

FOR THE NINTH CIRCUIT

DAVID JOSEPH MEISTER, _ ) No. 22-35830

) [Dist. Ct. # 1:19-cv-00173-DKG]
Petitioner-A ppellant, )

) MOTION FOR CERTIFICATE
VS. ) OF APPEALABILITY AND

) STATEMENT OF REASONS WHY
TYRELL DAVIS, ) A CERTIFICATE SHOULD BE

) ISSUED
Respondent-Appellee. )

TO: PANEL ASSIGNED TO CONSIDER WHETHER OR NOT TO ISSUE

CERTIFICATE OF APPEALABILITY

INTRODUCTION
David Meister (age 18) confessed to the December 1 1, 2001, murder of
Tonya Hart (age 21). He confessed that Jesse Linderman (age 20), Hart’s fiancée,
hired him to commit the killing. There was no forensic or direct proof that Meister
committed the murder, and no evidence of conspiracy with Linderman other than

Meister’s confession. Therefore, it follows, the State’s case relied on circumstantial
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evidence and Meister’s confession to prove guilt of murder and conspiracy.
Necessarily, Meister’s trial defense was to undermine the veracity of his
confession, and combat the circumstantial indications of guilt by using evidence of
alibi and evidence of a likely alternative perpetrator. The alternative perpetrator
defense was permitted. However, the trial court prevented expert testimony that
Meister was coerced into making the confession, and defense counsel inexplicably
introduced evidence to corroborate the confession and omitted the most significant
evidence of alibi. Because the evidence of guilt, though not overwhelming, was
still strong, the combined effect of these defense flaws cost Meister any chance of
success at trial. He was convicted and sentenced to life in prison without
possibility for parole.

The basis of Meister’s request for COA boils down to two primary
categories of grievance related to how his defense was compromised at trial. First,
Meister’s trial court excluded expert testimony that would have explained why
Meister would confess falsely and that he was in fact coerced (Arguments I - III).
Second, a handful of egregious examples of ineffective assistance of counsel
deprived Meister of a reasonable chance of disproving his confession and proving
his alibi (Arguments V - VIII). Meister contends that a reasonable jury could have
acquitted him if his trial had not been plagued by these errors.

As to yet, these errors have not received serious attention on review. None of
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Meister’s issues have been subject to meaningful merits analysis by a court at any
stage of appeal, but instead were all stopped at the gate, so to speak, and
summarily dismissed. Across the board, the basis of dismissal of each claim for
relief on appeal was an unreasonable application of Strickland v. Washington
(Argument IV), in combination with a faulty prejudice analysis based on an
unreasonable finding of overwhelming evidence of guilt (Argument IX). Meister
now asks the Ninth Circuit Court of appeals to issue COA and permit briefing to

fully explain his reasons why he should prevail on appeal.

ISSUES ON WHICH COA IS SOUGHT

1. Meister was deprived of his constitutional right to present evidence in support
of his theory of defense because the trial court prohibited an expert from
testifying that Meister’s confession was coerced. His appellate counsel
unreasonably failed to argue on-point and compelling federal law in support of
this claim before the Idaho Supreme Court, which failure supplies the “cause”
that excuses any procedural default.

2. Meister was deprived of his constitutional right to present expert testimony that
his confession was coerced, and to proof of guilt beyond a reasonable doubt,
because the Idaho Court of Appeals applied an unreasonable harmless-error
analysis. His appellate counsel unreasonably failed to argue on-point and
compelling federal law in support of this claim before the Idaho Supreme
Court, which failure supplies the “cause” that excuses any procedural default.

3. Meister was deprived of his constitutional right to federal habeas corpus review
of his claim that the trial court violated his right to present expert testimony
that his confession was coerced, because appellate counsel failed to preserve
argument under federal law. As an alternative theory of “cause” to excuse
default, Meister proposes that appellate counsel’s failure to federalize the
issued raised on direct appeal is per se prejudicial under the Strickland
10.

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analysis.

Meister was deprived of his constitutional right to effective assistance of trial
counsel and appellate counsel because Idaho courts have created a rule that
unreasonably applies Strickland to exclude any challenge to counsel’s conduct
if it can be (even remotely) conceived as a matter of “strategy.”

Meister was deprived of his constitutional right to effective assistance of
counsel because trial counsel failed to present evidence to disprove Meister’s
confession.

Meister was deprived of his constitutional right to effective assistance of
counsel because trial counsel failed to present evidence of Meister’s alibi.

Meister was deprived of his constitutional right to effective assistance of
counsel because trial counsel introduced false evidence that seemingly
corroborated Meister’s confession.

Meister was deprived of his constitutional right to effective assistance of
counsel and to a trial by impartial jury because trial counsel failed to object to
the jury’s ability to overhear extrinsic evidence and argument while excused to
the jury room, which lacked sufficient soundproofing.

The Magistrate’s prejudice analysis was fundamentally flawed by an
unreasonable finding of overwhelming evidence of guilt.

The Magistrate erred by denying Meister’s claim of cumulative error.

The Magistrate erred by denying Meister’s motion for discovery and
evidentiary hearing.

LEGAL STANDARD FOR ISSUANCE OF COA

A petitioner seeking COA must make a substantial showing of the denial of

a constitutional right. The petitioner makes this showing by demonstrating that

reasonable jurists could disagree with the district court’s resolution of the
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constitutional claim, or that reasonable jurists could conclude “the issues presented
are adequate to deserve encouragement to proceed further.” Miller-E] v. Cockrell,
537 U.S. 322, 337 (2003). The petitioner need not show the district court was
wrong, nor even that the appeal will ultimately succeed, but only that the issues are
“debatable” or otherwise worthy of clarification. Jd., at 337. Any doubts about
whether COA should issue must be resolved in the petitioner’s favor. Lambright v.
Stewart, 220 F.3d 102, 125 (9th Cir. 2000) (en banc).

ARGUMENT

1. Meister was deprived of his constitutional right to present evidence in
support of his theory of defense because the trial court prohibited an
expert from testifying that Meister’s confession was coerced. His
appellate counsel unreasonably failed to argue on-point and compelling
federal law in support of this claim before the Idaho Supreme Court,
which failure supplies the “cause” that excuses any procedural default.
Claim One of the petition for habeas corpus relief alleges that the trial court

violated Meister’s constitutional right to present a defense witness when it

prevented Dr. Richard Ofshe from testifying about coercive interrogation tactics
that caused Meister to confess on August 29, 2002. (Dkt. 1-1 at 2-9.) The
underlying facts of Claim One were argued by Meister’s counsel at state direct
appeal, but were limited to a theory of evidentiary error of state law. Related and

overlapping federal law was not argued. Meister later argued on post-conviction

and subsequent appeal that appellate counsel’s failure to argue supporting federal
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law compromised the appeal and also caused procedural default to collateral
review by federal courts, and thus constituted ineffective assistance of counsel
(Dkt. 10' PT1, #9, #1.)

At summary disposition of Claim One herein, the magistrate noted that IAC
can sometimes excuse a failure-to-exhaust default to federal review, but ultimately
decided that direct-appeal counsel were not ineffective, holding that Strickland v.
Washington required the presumption that counsel acted reasonably because,
generally, an evidentiary error is easier to show than a constitutional violation, and
counsel can’t be faulted for choosing the stronger legal approach. (Dkt. 24 at 16-
17.) Being unable to find counsel ineffective, the magistrate found no “cause” to
excuse default to habeas review. Wainwright v. Sykes, 433 U.S. 72 (1977). The
magistrate also held that Meister failed to show prejudice from counsel’s actions,
though the magistrate made no prejudice analysis to explain this conclusion. (Jd.)
The magistrate’s two-part holding is wrong in all aspects, as explained below.

ok ok

First, the magistrate does not analyze the constitutional claim other than to

| Meister was not provided copies of the records lodged by the State (Dkt. 17), and
so is unable to refer to those documents. Meister was granted leave to lodge
electronic copies of the state-court record of his trials and appeals (Dkt. 16), which
files appear at Docket 10. Meister refers to his lodgement throughout this motion.

2 The magistrate’s prejudice analysis for this claim and others is addressed in
Argument IT and IX below.
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state it wouldn’t have prevailed on appeal (Dkt. 24 at 17 n.4), and then speculates?
about appellate counsel’s rationale for omitting the constitutional claim, stating
that “it’s easier to show an evidentiary error than a federal constitutional claim.”
(/d. at 16.) In support, the magistrate cited Jammal v. Van de Kemp, 926 F.2d 918,
920 (9th Cir. 1991). Reasonable jurists, however, could debate the validity of the
proposition that Jammal stands for this rule. In Jammal, the court contemplates
whether admission of state evidence violates a defendant’s due-process right to a
fair trial—it does not specifically contemplate a defendant’s due-process right to
present a complete defense, which bears on the issue of whether Meister should
have been permitted to present Ofshe’s precluded expert testimony. Nor does
Jammal actually hold that evidentiary claims are categorically stronger than
constitutional claims.

* ok ok

Second, Meister’s federal constitutional claim is simpler and stronger than

3 Despite Meister’s requests, appellate counsel were never heard from in this case
and there is no evidence in the record that appellate counsel weighed the pros and
cons of making a federal law argument. Conversely, the facts that the
constitutional argument is simple, complemented the state-law argument that was
used, would have compelled reversal of conviction, and preserved the issue for
federal collateral appeal (see Dkt. 19 at 6-7) all indicate that appellate counsel did
not evaluate whether the federal argument would’ve been appropriate. Therefore,
the magistrate’s rationale for counsel’s actions is unsupported speculation.
Harrington v. Richter, 131 S.Ct. 700, 790 (2011) (courts “may not indulge post
hoc rationalizations for counsel’s decision making that contradicts the available
evidence of counsel’s action.” (citation omitted).)

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the state-law argument appellate counsel pursued. In Crane v. Kentucky, the
Supreme Court explicitly upheld a defendant’s Fifth and Fourteenth Amendment
right to challenge the voluntariness of his confession—including challenge to the
physical and mental circumstances under which his confession was extracted—even
when the trial court has already ruled pre-trial that the confession was “voluntary”
for admissibility purposes. 476 U.S. 683, 688-90 (1986).4

Idaho case law, on the other hand, was silent about the contours of a
defendant’s right to present expert testimony to challenge “voluntariness” and
particular circumstances of his interrogation and confession.

Idaho-court precedent being unavailable, appellate counsel gambled on their
interpretation of Idaho rules of evidence. And standing on the evidentiary
argument alone was objectively unreasonable conduct by counsel because the
neglected constitutional argument would not have been a gamble, being
unmistakably in Meister’s favor.

This is so because Meister’s trial court acknowledged Ofshe’s testimony to

4 The fairly recent ruling in Boyer v. Vannoy, 863 F.3d 428 (5th Cir. 2017),
although finding Crane had not clearly established the right to present expert
testimony generally about confessions and interrogations, the court nonetheless
noted that Crane had clearly established the right to challenge the particular
circumstances of the defendant’s confession. Jd. at 452 (applying AEDPA
deference). Indeed, this Court in Lunberg v. Hornbeak, 605 F.3d 754, 760, 765
(9th Cir. 2010) applied Crane and suggested trial counsel could be constitutionally
deficient for failing to call an expert on false confessions.
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be qualified and admissible to (Dkt. 1-1 at Ex. C. at 8-9), but limited it on the basis
that it would conflict with the court’s pretrial determination that Meister’ s
confession was “voluntary.” (/d. at 9-10 (“This Court previously ruled on the issue
of whether Meister voluntarily made the confession and thus, this ruling stands. .. .
Dr. Ofshe is prohibited from testifying regarding the voluntariness of Meister’s
confession. . . .”).) As indicated above, this is exactly the type of ruling struck
down in Crane. There is simply no reasonable strategy for appellate counsel to
neglect that authority.

To be clear, Ofshe was never offered to opine whether the confession was

true or false, but rather was offered to identify specific coercive/suggestive
interrogation tactics used against Meister and their effect on his mind. (Dkt. 10
PTI, #15 at 1922; Dkt. 19 at 20.) He also would have given expert testimony that
Meister was in fact coerced into confessing, whether or not that confession was
actually true. Moreover, Dr. Ofshe’s opinion that Meister was coerced was clear
under all alternate scenarios of the interrogation-the one offered by Meister, and
the one offered by his interrogators. (Dkt. 10 PT1, Vol. 19 at 3843-62; Vol. 5 at
925-1095; see also Dkt. 19 at 18-19.) Ina case involving the same expert (Dr.
Ofshe), the Seventh Circuit addressed this exact situation, and held that Ofshe
should have been permitted to testify about the coercive tactics employed against

the defendant. See U.S. v. Hall, 93 F.3d 1337, 1345-46 (7th Cir. 1996).
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The U.S. magistrate’s opposite conclusion that Ofshe was justifiable
precluded, therefore, appears to be on shaky ground. That opinion also appears to
be in conflict with this Court’s precedent in Alcala v. Woodford, 234 F.3d 862 (9th
Cir. 2003).

In Alcala, the holding in Crane was applied to a factually different but
legally similar scenario in which the trial court excluded evidence from
psychologist Dr. Ray London who would have testified that the state’s key witness
adopted investigators’ suggestions while under hypnotic trance. Jd. at 875. The
Court found the defendant’s constitutional right to present a defense was violated,
and reversed because (1) the ruling was contrary to the state’s rules of evidence
and (2) London’s identification of hypnotic suggestions by police would have cast
serious doubt on the witness’s credibility. Id. at 873-79. Alcala is applicable here
because Ofshe, like London, would have testified to particular instances of police
suggestiveness, that testimony complied with state rules of evidence (State v.
Amarez, 154 Idaho 582, 600 (2013); Dkt. 19 at 20-21), and the evidence was
crucial to Meister’s defense. Ofshe was permitted to testify generally about

coercive interrogation tactics known to cause false confessions, but was robbed of

his punchline that carefully identified them in both the disputed and undisputed

facts, and that Meister was in fact coerced into confessing. Meister’s defense

therefore went incomplete. Holm v. South Carolina, 547 U.S. 319, 324 (2006)

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(defendants have right to a complete defense that complies with rules of evidence).
Because the confession was key to the state’s case, Meister “had a right to present
evidence to prove the confession was false.” Boyer, 863 F.3d at 460 (Judge Graves
dissenting).

The Court is respectfully referred to Docket 10 PTI, Vol. 19 at 3843-62;
Vol. 5 at 925-1095; and Tr. 2956-80 for the details of Ofshe’s trial testimony and
proffer of his excluded testimony. (Argument for its admissibility under state law
and its importance to Meister’s defense also appears at Docket 19, pages 17-22,
26-29.) For these cited reasons and those argued above, it is at least “debatable”
that appellate counsel were deficient for neglecting the constitutional argument on
appeal, and COA should issue on the question of whether “cause and prejudice”
exists to excuse default of Claim One.

ook Ok

Third, the proposition that “evidentiary error is easier to show than
constitutional error and so counsel are never ineffective for omitting constitutional
argument” presents criminal defendants with a legal impasse between the right to
counsel on direct appeal and the right to petition for federal writ of habeas corpus.
Under that proposition, if accepting assistance from appellate counsel, a prisoner
must then fail to exhaust and thus forfeit the constitutional claim. Or must the

prisoner proceed pro se on direct appeal in attempt to satisfy AEDPA exhaustion

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requirements in order to preserve later federal collateral review? Jurists of reason
could debate the constitutionality of such a Hobson’s Choice.

Indeed, if the magistrate is correct that Strickland’ s presumption-of-
reasonable-strategy standard necessarily allows counsel to strip their clients of
meritorious federal appeal (or, for that matter, if the exhaustion doctrine of
AEDPA pits two constitutional tights against each other), then reasonable jurists
could debate whether Strickland or AEDPA, in itself, violates the constitutional
right to assistance from counsel or right to petition for federal habeas corpus relief.
See Boumedine v. Bosh, 553 U.S. 723 (2008) (constitutionally adequate appellate
procedure must at least include a meaningful opportunity to satisfy the requirement
of AEDPA).

Furthermore, by the magistrate’s logic, a state appellate public defenders
office could be permitted to systematically exclude federal constitutional
arguments whenever a state evidentiary error could be argued in lieu—
systematically defaulting federal habeas review. Obviously this kind of policy of a
state agency would create a lack of “independent and adequate state procedural
ground” for inmates in that state to present federal claims (Wainwright, 473 U.S. at
87), which would be an excuse to the AEDPA exhaustion rule and permit federal
habeas review. 28 U.S.C. sec 2254(b)(1)(B)(i)-(ii). Reasonable jurists could debate

the constitutionality of such a practice by offices of public defenders.

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Il. Meister was deprived of his constitutional right to present expert
testimony that his confession was coerced, and to proof of guilt beyond a
reasonable doubt, because the Idaho Court of Appeals applied an
unreasonable harmless-error analysis. His appellate counsel
unreasonably failed to argue on-point and compelling federal law in
support of this claim before the Idaho Supreme Court, which failure
supplies the “cause” that excuses any procedural default.

Claim Two alleged that the Idaho Court of Appeals violated Meister’s
constitutional right to present a complete defense and right to proof of guilt beyond
a reasonable doubt when it found the limitation of Ofshe’s testimony to be
harmless because (1) counsel argued his theories in closing and (2) evidence of
Meister’s guilt was overwhelming. (Dkt. 1-1 at 10-12.) Meister’s state post-
conviction and subsequent appeal provided each level of Idaho’s courts fair
opportunity to decide whether appellate counsel were deficient for neglecting these
constitutional issues. (Dkt. 19 at 5, para 2.) The magistrate herein noted that
ineffective appellate counsel may be “cause” to excuse exhaustion default (Dkt. 24
at 12-16), but ultimately held there was no “cause” in this case, that counsel were
not ineffective for foregoing federal constitutional argument. (/d. at 16-17.)
However, it is well-established that criminal defendants have a right to present
witnesses, including experts, necessary to a complete defense. See Holms, 457 U.S.
at 324; Chambers, 410 U.S. at 294; Washington, 388 U.S. at 19; Crane, 476 U.S.

at 687. The Idaho Court of Appeals’s opinion that the limitation of Dr. Ofshe was

harmless because defense counsel applied Ofshe’s theory during closing arguments

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(State v. Meister, No. 39807, 2014 WL861717, at *7-8 (Idaho. Ct. App. Mar. 4,
2014) (unpublished))) is plainly in conflict with SCOTUS precedent that
establishes the right to present evidence. Idaho’s opinion that it is sufficient if
counsel attempts to apply the science in closing arguments in lieu of actual
testimony from the expert is unreasonable on its face because argument from
counsel is not qualified expert opinion, may be incorrect, is obviously biased in
favor of the defense, and is not evidence. (Dkt. 19 at 26-29.) The proposition that
counsel’s argument is “good enough” (beyond a reasonable doubt, no less) is
clearly in conflict with Crane’s upholding of a defendant’s right to present
evidence to challenge the circumstances and voluntariness of his confession. 476
USS. at 687-88.

Additionally, the appellate court’s opinion is based on an unreasonable
determination of the facts insofar as it speculated that trial counsel correctly
applied Ofshe’s theory to the facts of Meister’s interrogation. Meister at 8. Ofshe’s
theory was, in fact, inadequately applied by defense counsel at closing arguments:
(See Dkt. 19 at 28-29 for examples.) And of course, counsel did not—and could
not—offer expert argument that Meister was actually psychologically coerced. The
limitation on Ofshe deprived the defense of medical evidence that Meister

produced the confession because of psychological coercion. (See Dkt. 10 PT2, Vol.

5 at 1026-32.)

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The appeals court found, secondarily, that error was harmless because, in its
view, evidence of guilt was overwhelming. Meister, at 8-10. That decision,
however, was made in a one-sided vacuum of the state’s version and presentation
of facts, and for that reason (discussed thoroughly at Argument IX of this motion)
the court’s conclusion is both unreasonable under constitutional law and
unreasonable under the facts. (See also Dkt. 19 at 22-26.)

Reasonable jurists could differ about the competence of appellate counsel’s
failure to use federal constitutional authority that clearly combatted Idaho’s
unreasonable harmless-error analysis in this case, and, thus, it is debatable whether
the U.S. magistrate erred by not finding “cause” to excuse exhaustion default of
these arguments.

Ill. Meister was deprived of his constitutional right to federal habeas corpus
review of his claim that the trial court violated his right to present
expert testimony that his confession was coerced, because appellate
counsel failed to preserve argument under federal law. As an alternative
theory of “cause” to excuse default, Meister proposes that appellate
counsel’s failure to federalize the issued raised on direct appeal is per se
prejudicial under the Strickland analysis.

At state post-conviction, subsequently upon state appeal, and before the U.S.
District Court (magistrate) herein, Meister argued that appellate counsel’s failure to
federalize the appellate issue (restated herein as Claims One and Two)-that is, to

preserve it for federal collateral review—is analogous to an instance when trial

counsel fails to file a notice of appeal, which failure is construed as per se

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